                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CASE NO. 5:23-CV-059-KDB-DCK

 CROWN EQUIPMENT CORPORATION,                          )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )    ORDER
                                                       )
 DAVID BRADY, et al.,                                  )
                                                       )
                Defendant.                             )
                                                       )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 26) filed by Abbi White Harris , concerning Andrew P.

Connors, on July 7, 2023. Andrew P. Connors seeks to appear as counsel pro hac vice for

Defendants David Brady, William Tucker, Brawtus Holding Company, Inc., and Brawtus

Management Company, LLC.         Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 26) is GRANTED. Andrew P.

Connors is hereby admitted pro hac vice to represent Defendants David Brady, William Tucker,

Brawtus Holding Company, Inc., and Brawtus Management Company, LLC .

         SO ORDERED.


                                Signed: July 7, 2023
